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NNNN[\)NNNNr-¢»-l»-»r-‘)-ll-\)-\»_n,_.,_.
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where
Deborah Jones " F'|'Léb' n …
12602 Arbor Garden Ln ~ - .. _
Houston, TX 77066 v\m\/ 02 2013
Phone Number: _
Email: djonesO656@gmail.com " Da\'ld J~ 511¢"9¥» C|erk of Courz
DEBORAH JONES IN PRO SE' -
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS (HARRIS)
HOUSTON DIVISION
DE`BORAH JoNEs j Civil' N‘o:' zi§i's-év§osrw
)
Plaintiff )
§ PLAINTIFF’S MOTION FOR DEFAULT
) JUDGlV[ENT
vs. )
)
§
MONTEREY FINANCIAL SERVICES, INC., et-)
al )
Defendant _ )
)
)
)

 

 

 

TO THE HONORABLE JUDGE AND COURT CLERK OF RECORDS:
COMES NOW Deborah J ones (“Plaintifi”) in the styled number cause under Rule 4 of the
Texas Rule of Civil Procedure and with Plaintifi’s Motion for Default Judgment and for matters
referenced she shows the court herewith,
(1) On September 10, 2018 the Court issued an Order Setting Conference. ln that order
Plaintiff and Defendant Were instructed within 15 days of receiving this order, which
Plaintiff didn’t receive, but Was able to view the case online, were instructed to file a list
of all entities that are financially interested in this litigation Plaintiff filed her list within
the 15 days, however, the Defendant failed to file their list within the 15 days after

receiving the order. Based on the fact Defendant failed to file their list, they are in
_ 1 _

 

 

PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

 

 

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default of the order issued by this court. The court has jurisdiction to enter a default
judgment against the named Defendant pursuant to Rule 591 of the Texas Rules of Civil
Procedure.

(2) Plaintiff movants the court for an entry of a default judgment after no list was flled by

the Defendant within the deadline.

WHEREFORE, Plaintiff prays the Court will enter an order for default judgement in favor

__ of Plaintiff and award Plaintiff the relief sought in_the amount c)j`§3?000;00_for the reasons

stated in her Original Complaint.

Dated: October 31, 2018 Respectfully submitted

YOAF.&Q(MW

ah Jones/Pro Se l,
12602 Arbor Garden Ln
Houston, TX 77066

djonesO656@gmail.com

  

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the above and foregoing Motion has been sent

via fax and email to Monterey Financial Services, Inc. on the 3 lst day of October , 2018.

Q;RSM

 

Malone Akerly Martin, PLLC

NCX Building, Suite 1850

875() North Central Expressway
Dallas, Texas 7 5231
rmalone@mamlaw.com

(214) 346-263l (fax)
ATTORNEY’S FOR DEFENDANT

_2_

 

 

PLAINTIFF’S MOTION FOR DEFAULT IUDGMENT

 

 

